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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             SERGIO BEJARANO,                         :    CRIMINAL NO.
                 Movant,                              :    1:05-CR-0477-CC-GGB-5
                                                      :
                   v.                                 :    CIVIL ACTION NO.
                                                      :    1:10-CV-1919-CC-GGB
             UNITED STATES OF AMERICA,                :
                 Respondent.                          :    28 U.S.C. § 2255
                                                      :


                ORDER ADOPTING THE REPORT AND RECOMMENDATION OF
                 THE MAGISTRATE JUDGE AS THE ORDER OF THIS COURT

                   This matter is before the Court on the Final Report and Recommendation

             (“R&R”) issued by United States Magistrate Gerrilyn G. Brill [Doc. 1571], and

             Movant’s Objections thereto, [Doc. 1575]. In the R&R, Magistrate Judge Brill

             recommends denying Movant’s motion to vacate sentence under 28 U.S.C. § 2255.

                   Under 28 U.S.C. § 636(b)(1) and Rule 72 of the Federal Rules of Civil

             Procedure, the Court is obligated to conduct a de novo review of the portions of the

             R&R to which Movant has objected. The Court reviews the remainder of the R&R

             for plain error. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

             However, where a movant does not file specific objections to factual findings and

             recommendations of the magistrate judge, this Court need not perform a de novo

             review. Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993) (citing inter alia


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             Stokes v. Singletary, 952 F.2d 1567, 1576 (11th Cir. 1992); LoConte v. Dugger, 847

             F.2d 745, 750 (11th Cir. 1988)).

                   In his motion [Doc. 1498], Movant raises two grounds for relief: (1) counsel

             was ineffective for failing to inform Movant of the deportation consequences of his

             guilty plea; and (2) counsel was ineffective for failing to “advise, discuss and permit”

             Movant to review and object to the erroneous presentence investigation report. In the

             R&R, Magistrate Judge Brill recommends denying the first ground for relief, because

             the case relied on by Movant to support the claim, Padilla v. Kentucky, 130 S. Ct.

             1473 (2010), was decided after Movant’s conviction became final on direct review,

             and Padilla is not retroactively applicable to Movant’s case on collateral review.

             Magistrate Judge Brill recommends denying the second ground for relief because

             Movant, in a negotiated plea agreement, waived his right to collaterally attack his

             sentence, and this waiver precludes him from raising an ineffective assistance of

             counsel claim related to sentencing. [Doc. 1571].

                   In his objections [Doc. 1575], Movant argues that his waiver is unenforceable

             because he is a Mexican national with limited English skills, and he was not

             appointed a translator during the guilty plea hearing. Movant also argues that Padilla

             should apply retroactively.




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                   Movant’s objections are without merit. A review of the plea hearing transcript

             reveals that an interpreter was sworn by the Court at the start of the hearing to

             interpret the proceedings. [Doc. 1123 at 2]. Further, the Court specifically addressed

             the negotiated appeal waiver with Movant during the plea colloquy, and Movant

             indicated that he understood that he was giving up the right to collaterally attack his

             sentence. [Id. at 31-32]. Lastly, the United States Supreme Court has recently held

             that Padilla does not apply retroactively on collateral review. Chaidez v. United

             States, 133 S. Ct. 1103, 1113 (2013). Accordingly, Movant’s objections are

             overruled.

                   At the time the R&R was entered, neither the Supreme Court nor the Eleventh

             Circuit had determined whether Padilla applied retroactively. Thus, Magistrate Judge

             Brill recommended that a certificate of appealability be granted on that issue.

             However, because the Supreme Court has since determined that Padilla does not

             apply retroactively, the Court finds that a certificate of appealability is not warranted.

                                                   Conclusion

                   For the foregoing reasons, IT IS HEREBY ORDERED that the Court

             ADOPTS AS ITS ORDER the Magistrate Judge’s Report and Recommendation

             over Petitioner’s Objections. Movant’s § 2255 motion [Doc. 1498] is DENIED.




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                   The two pending motions filed by Movant [Docs. 1512 and 1513] are

             DENIED as moot.

                   IT IS FURTHER ORDERED that a certificate of appealability be DENIED.

                   The Clerk is DIRECTED to close this case.

                   IT IS SO ORDERED this 25th day of March, 2013.


                                          s/ CLARENCE COOPER
                                          CLARENCE COOPER
                                          SENIOR UNITED STATES DISTRICT JUDGE




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